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 5   Attorneys for Plaintiff
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 6

 7

 8                                 IN THE UNITED STATES DISTRICT COURT
 9                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-442-LKK
12                                   Plaintiff,           STIPULATION AND ORDER AFTER STATUS
                                                          CONFERENCE DATE AND EXCLUDING TIME
13                            v.                          UNDER THE SPEEDY TRIAL ACT
14   BRANDON MCMURRIAN, ET AL.,                           Court: Hon. Lawrence K. Karlton
15                                  Defendants.
16

17           Whereas, pursuant to regular notice, on April 15, 2014, the Court conducted a status conference
18   in this case. Assistant United States Attorney Samuel Wong appeared on behalf of plaintiff United
19   States of America; Michael Long, Esq., appeared for defendant Brandon McMurrian, who was not
20   present, but has a waiver of appearance on file; Donald Dorfman, Esq., appeared for defendant Joel
21   Murdoch, who was not present, but has a waiver of appearance on file; Steve Plesser, Esq., appeared
22   with defendant Kevin Ayler; and Michael Bigelow, Esq., appeared with defendant Allen Lane,
23           Whereas, the parties advised the Court that the United States recently produced additional discovery

24   (338 pages) to the defendants and that defendants Ayler and Lane were added as defendants by Superseding

25   Indictment (filed July 25, 2013), but made their initial appearances (on September 4, 2013) much later than

26   the first two defendants McMurrian and Murdoch (on December 19, 2012),

27           Whereas, defense counsel requested additional time to review the newly produced discovery and

28   prepare their respective client's defenses,

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 1           Whereas, based on the information presented, the Court set a trial confirmation hearing on June 3,

 2   2014, at 9:15 a.m., and a trial date on June 24, 2014, at 10:30 a.m., and

 3           Whereas, subsequent to the status conference, the respective counsel for the parties met and

 4   conferred and reached the following stipulation and agreement.

 5           It is hereby stipulated and agreed by and between the parties, through their respective counsel, that:

 6           (1) the Court shall order the time between the parties' instant stipulation, April 17, 2014, and

 7   including the trial date of June 24, 2014, shall be excluded from computation of time within which the

 8   trial of this matter must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
 9   § 3161(h)(7)(A) and (B)(iv) and Local Code T4. This time period is needed for: (a) each defense
10   counsel time to review the discovery and discuss the discovery and its ramifications with his client; and
11   (b) each defense counsel to conduct his factual investigation, legal research, and otherwise prepare for
12   trial; and
13           (2) the Court shall find that: (a) the failure to grant the requested delay of the trial date in this
14   case would deny defense counsel reasonable time necessary for effective preparation, taking into
15   account the exercise of due diligence; and (b) the ends of justice served by the granting of such a delay
16   of the trial date outweigh the best interests of the public and the defendants in a speedy trial.
17           Dated: April 17, 2014                           /s/ Michael Long
18                                                           ________________________
                                                             MICHAEL LONG
19                                                           Attorney for Defendant
                                                             BRANDON McMURRIAN
20
                                                             (per telephone authorization)
21

22                                                           /s/ Donald Dorfman
                                                             ________________________
23                                                           DONALD DORFMAN
                                                             Attorney for Defendant
24
                                                             JOEL MURDOCH
25                                                           (per email authorization)

26
                                                              /s/ Steve Plesser
27                                                            ________________________
28                                                            STEVE PLESSER
                                                              Attorney for defendant
       STIPULATION AND ORDER AFTER                           2
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 1                                                            Kevin Ayler
                                                              (per email authorization)
 2
                                                              /s/ Michael Bigelow
 3
                                                              _________________________
 4                                                            MICHAEL BIGELOW
                                                              Attorney for defendant
 5                                                            Allen Lane
                                                              (per email authorization)
 6

 7
                                                              BENJAMIN B. WAGNER
 8                                                            United States Attorney

 9                                                          /s/ Samuel Wong
                                                      By: _______________________
10                                                          SAMUEL WONG
11                                                          Assistant U.S. Attorney

12
                                                         ORDER
13
             The Court, having received, read, and considered the stipulation of the parties, and good cause
14
     appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
15
     representation of the parties and good cause appearing therefrom, the Court hereby finds that the failure
16
     to grant the delay of the trial in this case would deny defense counsel reasonable time necessary for
17
     effective preparation, taking into account the exercise of due diligence. The Court finds that the ends of
18
     justice to be served by granting a delay of the trial date to June 24, 2014, outweigh the best interests of
19
     the public and the defendants in a speedy trial. It is ordered that time beginning from the parties'
20
     stipulation on April 17, 2014, up to and including the June 24, 2014, trial date shall be excluded from
21
     computation of time within which the trial of this matter must be commenced under the Speedy Trial
22
     Act pursuant to 18 U.S.C. § 3161(h) (7) (A) and (B) (iv) and Local Code T 4, to allow defense counsel
23
     reasonable time to prepare. The previously set trial confirmation hearing on June 3, 2014, at 9:15 a.m., and
24
     a trial date on June 24, 2014, at 10:30 a.m., shall remain as set.
25

26           Dated: April 21, 2014
27

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       STIPULATION AND ORDER AFTER                           3
       STATUS CONFERENCE
